Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 1 of 54




                       EXHIBIT 8
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 2 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 3 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 4 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 5 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 6 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 7 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 8 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 9 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 10 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 11 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 12 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 13 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 14 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 15 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 16 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 17 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 18 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 19 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 20 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 21 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 22 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 23 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 24 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 25 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 26 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 27 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 28 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 29 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 30 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 31 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 32 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 33 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 34 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 35 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 36 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 37 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 38 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 39 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 40 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 41 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 42 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 43 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 44 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 45 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 46 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 47 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 48 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 49 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 50 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 51 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 52 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 53 of 54
Case 1:04-cv-10981-PBS Document 1675-9 Filed 02/23/09 Page 54 of 54
